Case 2:13-cr-06070-SAB              ECF No. 76          filed 03/14/24       PageID.286         Page 1 of 1




      United States District Court, Eastern District of Washington
                               Magistrate Judge James A. Goeke
                                           Richland

 USA v. KENNETH RICHARD                                  Case No.           2:13-CR-6070-SAB-1
 ROWELL

       Richland Video Conference (JAG @ Spokane; Counsel and Defendant @ Richland)
                    The Defendant agreed to appear via video conference.

 Initial Appearance on Supervised Release Petition:                                           03/14/2024

 ☒ Sara Gore, Courtroom Deputy [R]                      ☒ Laurel Holland, US Atty [R]
 ☒ Melissa Orosco, Courtroom Deputy [S]                 ☒ Nick Mirr, Defense Atty [R]
 ☒ Janie Coronado, US Probation / Pretrial              ☒ Interpreter NOT REQUIRED
   Services Officer
 ☒ Defendant present ☒out of custody

 ☐    USA Oral Motion for Detention                     ☒    Rights given
 ☒    USA not seeking detention                         ☒    Acknowledgment of Rights previouslyfiled
 ☒    Financial Affidavit (CJA 23) previously filed     ☒    Defendant received copy of charging document
 ☒    The Court will appoint the Federal Defenders      ☒    Defendant waived reading of petition
 ☐    Based upon conflict with Federal Defenders, the   ☐    Petition reviewed in open court
      Court will appoint a CJA Panel Attorney
 ☒    Conditions of Release as Previously Imposed       ☐    Supplemental Pre-Trial Services Report ordered
 ☒    AO 199C Advice of Penalties/Sanctions             ☐    The Court ordered continued representation of
                                                             previously appointed counsel with the additional
                                                             Petition(s)

                                               REMARKS
        Defendant appeared and was assisted by counsel and advised of his rights and the allegations
contained in the petition filed on 2/23/2024 regarding alleged violation numbers 1-7.
        The Defendant acknowledged to the Court that his true and correct name is: Kenneth Richard
Rowell.
        A denial of the violations pending on the petition is entered on behalf of Defendant.

The Court ordered:
        1. The Defendant shall be released on conditions as previously imposed.

  Detention Hrg on Petition:                 Preliminary Hrg:                    Revocation Hrg:
                                                                             03/26/2024 @ 9:00 a.m.
 USA Not Seeking Detention             USA Not Seeking Detention                    [Y/SAB]




Digital Recording/R-326                 Time: 1:29 p.m. – 1:41 p.m.                                    Page 1
